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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA


                                                             CASE No C 4:18-cv-07238-YGR
MICHELLE CHARMAINE LAWSON

                                 Plaintiff(s)
                                                             STIPULATION AND [PROPOSED]
 v.
                                                             ORDER SELECTING ADR PROCESS
CITY OF ARCATA, et al.
                                 Defendant(s)

Counsel report that they have met and conferred regarding ADR and have reached the following
stipulation pursuant to Civil L.R. 16-8 and ADR L.R. 3-5. The parties agree to participate in the
following ADR process:
    Early Neutral Evaluation (ENE) (ADR L.R. 5)

    Mediation (ADR L.R. 6)
   ■ Early Settlement Conference with a Magistrate Judge (ADR L.R. 7)
   
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    Private ADR (specify process and provider)


The parties agree to hold the ADR session by:
    the presumptive deadline (90 days from the date of the order referring the case to ADR)
   ■ other requested deadline: July 31, 2019
   

 Date: April 10, 2019                                        /s/ Shelley K. Mack
                                                             Attorney for Plaintiff
 Date: April 10, 2019                                        /s/ Dale Allen
                                                             Attorney for Defendant


  IT IS SO ORDERED.
  IT IS SO ORDERED WITH THE FOLLOWING MODIFICATIONS: In light of this
     request, parties shall advise whether the Court should defer ruling on the pending motion
     to dismiss.
 DATE: April 12, 2019
                                                U.S. DISTRICT/MAGISTRATE JUDGE



 Important! E-file this form in ECF using the appropriate event among these choices: “Stipulation & Proposed Order
 Selecting Mediation” or “Stipulation & Proposed Order Selecting ENE” or “Stipulation & Proposed Order Selecting Early
 Settlement Conference with a Magistrate Judge” or “Stipulation & Proposed Order Selecting Private ADR.”
 Form ADR-Stip rev. 1-15-2019
